Case 3:19-cr-00218-HES-LLL Document 90 Filed 05/13/21 Page 1 of 24 PagelD 472
FILED IN UP." COURT
V1Y/201!
UNITED STATES DISTRICT COURT = CLERK. U.S. DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA —_MIO9LE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION YACASONVILLE, FLORIDA
UNITED STATES OF AMERICA
V. CASE NO. 3:19-cr-218-J-20JRK
ROMEO XAVIER LANGHORNE
PLEA AGREEMENT
Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by Maria
Chapa Lopez, United States Attorney for the Middle District of Florida, and the
defendant, ROMEO XAVIER LANGHORNE, and the attorney for the defendant,

John Leombruno, mutually agree as follows:

A. Particularized Terms

1. Count Pleading To

The defendant shall enter a plea of guilty to Count One of the
Indictment. Count One charges the defendant with attempting to provide material
_ support and resources to a designated foreign terrorist organization, in violation of

18 U.S.C. § 2339B(a)(1).

2. Maximum Penalties

Count One carries a maximum term of imprisonment of twenty years, a
fine of not more than $250,000, or both imprisonment and a fine, a term of

supervised release of any term of years or life, and a mandatory special assessment of

$100, said special eae to be due on the date of sentencing. A violation of the
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terms and conditions of supervised release carries a maximum sentence of not more
than two years of imprisonment as well as the possibility of an additional term of
supervised release.

3. Elements of the Offense

The defendant acknowledges understanding the nature and elements of
the offense with which defendant has been charged and to which defendant is
pleading guilty.

The elements of Count One are:

First: The defendant knowingly attempted to provide material
support or resources to ISIS, a designated foreign terrorist
organization; and

Second: The defendant did so knowing that the organization was a
designated foreign terrorist organization, or that the
organization had engaged in or was engaging in terrorist

activity or terrorism.

4. No Further Charges

If the Court accepts this plea agreement, the United States Attorney's
Office for the Middle District of Florida agrees not to charge defendant with
committing any other federal criminal offenses known to the United States
Attorney's Office at the time of the execution of this agreement, related to the
conduct giving rise to this plea agreement.

5; Acceptance of Responsibility - Three Levels

At the time of sentencing, and in the event that no adverse information

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is received suggesting,such a recommendation to be unwarranted, the United States
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will recommend to the Court that the defendant receive a two-level downward
adjustment for acceptance of responsibility, pursuant to USSG §3E1.1(a). The
defendant understands that this recommendation or request is not binding on the
Court, and if not accepted by the Court, the defendant will not be allowed to
withdraw from the plea.

Further, at the time of sentencing, if the defendant's offense level prior
to operation of subsection (a) is level 16 or greater, and if the defendant complies
with the provisions of USSG §3E1.1(b) and all terms of this Plea Agreement,
including but not limited to, the timely submission of the financial affidavit
referenced in Paragraph B.5., the United States agrees to file a motion pursuant to
USSG §3E1.1(b) for a downward adjustment of one additional level. The defendant
understands that the determination as to whether the defendant has qualified for a
downward adjustment of a third level for acceptance of responsibility rests solely
with the United States Attorney for the Middle District of Florida, and the defendant
agrees that the defendant cannot and will not challenge that determination, whether
by appeal, collateral attack, or otherwise.

6. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and
voluntarily any and all assets and property, or portions thereof, subject to forfeiture,

pursuant to 18 U.S.C. §§ 981(a)(1)(C) and (a)(1)(G), and 28 U.S.C. § 2461(c),

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whether in the possession or control of the United States, the defendant or
defendant's nominees.

The defendant agrees and consents to the forfeiture of these assets
pursuant to any federal criminal, civil judicial or administrative forfeiture action.
The defendant also agrees to waive all constitutional, statutory and procedural
challenges (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this Plea Agreement on any grounds,
including that the forfeiture described herein constitutes an excessive fine, was not
properly noticed in the charging instrument, addressed by the Court at the time of
the guilty plea, announced at sentencing, or incorporated into the judgment.

If the United States seeks the forfeiture of specific assets pursuant to
Rule 32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will
satisfy the notice requirement and will be final as to the defendant at the time it is
entered. In the event the forfeiture is omitted from the judgment, the defendant
agrees that the forfeiture order may be incorporated into the written judgment at any
time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and locate
all property subject to forfeiture and to transfer custody of such property to the
United States before the defendant’s sentencing. To that end, the defendant agrees to
make a full and complete disclosure of all assets over which defendant exercises

control directly or indirectly, including all assets held by nominees, to execute any
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documents requested by the United States to obtain from any other parties by lawful
means any records of assets owned by the defendant, and to consent to the release of
the defendant’s tax returns for the previous five years. The defendant further agrees
to be interviewed by the government, prior to and after sentencing, regarding such
assets and their connection to criminal conduct. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United States.
The defendant agrees that Federal Rule of Criminal Procedure 11 and USSG § 1B1.8
will not protect from forfeiture assets disclosed by the defendant as part of the
defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to the forfeitable assets before the defendant’s
sentencing. In addition to providing full and complete information about forfeitable
assets, these steps include, but are not limited to, the surrender of title, the signing of
a consent decree of forfeiture, and signing of any other documents necessary to
effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as satisfaction of
any fine, restitution, cost of imprisonment, or any other penalty the Court may
impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that the
defendant has breached this section of the Plea Agreement, the defendant may be

found ineligible for a reduction in the Guidelines calculation for acceptance of

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responsibility and substantial assistance, and may be eligible for an obstruction of
justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding the
abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this agreement
shall be determined as if the defendant had survived, and that determination shall be
binding upon defendant’s heirs, successors and assigns until the agreed forfeiture,
including any agreed forfeiture amount, is collected in full.

B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition to or
in lieu of any other penalty, shall order the defendant to make restitution to any
victim of the offense, pursuant to 18 U.S.C. § 3663A, for all offenses described in 18
U.S.C. § 3663A(c)(1); and the Court may order the defendant to make restitution to
any victim of the offense, pursuant to 18 U.S.C. § 3663, including restitution as to all
counts charged, whether or not the defendant enters a plea of guilty to such counts,
and whether or not such counts are dismissed pursuant to this agreement. The
defendant further understands that compliance with any restitution payment plan
imposed by the Court in no way precludes the United States from simultaneously

pursuing other statutory remedies for collecting restitution (18 U.S.C. § 3003(b)(2)),

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including, but not limited to, garnishment and execution, pursuant to the Mandatory
Victims Restitution Act, in order to ensure that the defendant’s restitution obligation
is satisfied.

On each count to which a plea of guilty is entered, the Court shall
impose a special assessment pursuant to 18 U.S.C. § 3013. The special assessment is
due on the date of sentencing. The defendant understands that this agreement
imposes no limitation as to fine.

2. Supervised Release

The defendant understands that the offense to which the defendant is
pleading provides for imposition of a term of supervised release upon release from
imprisonment, and that, if the defendant should violate the conditions of release, the
defendant would be subject to a further term of imprisonment.

3. Immigration Consequences of Pleading Guilty

The defendant has been advised and understands that, upon conviction,
a defendant who is not a United States citizen may be removed from the United
States, denied citizenship, and denied admission to the United States in the future.

4, Sentencing Information

The United States reserves its right and obligation to report to the Court
and the United States Probation Office all information concerning the background,
character, and conduct of the defendant, to provide relevant factual information,

including the totality of the defendant's criminal activities, if any, not limited to the

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countto which defendant pleads, to respond to comments made by the defendant or
defendant's counsel, and to correct any misstatements or inaccuracies. The United
States further reserves its right to make any recommendations it deems appropriate
regarding the disposition of this case, subject to any limitations set forth herein, if
any.
5 Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P. 32(d)(2)(A)(ii),
the defendant agrees to complete and submit to the United States Attorney's Office
within 30 days of execution of this agreement an affidavit reflecting the defendant's
financial condition. The defendant promises that her financial statement and
disclosures will be complete, accurate and truthful and will include all assets in
which she has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, dependent, nominee or other third party.
The defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by the
defendant, directly or through a nominee, and, by the execution of this Plea
Agreement, consents to the release of the defendant's tax returns for the previous five
years. The defendant similarly agrees and authorizes the United States Attorney's
Office to provide to, and obtain from, the United States Probation Office, the
financial affidavit, any of the defendant's federal, state, and local tax returns, bank

records and any other financial information concerning the defendant, for the

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purpose of making any recommendations to the Court and for collecting any
assessments, fines, restitution, or forfeiture ordered by the Court. The defendant
expressly authorizes the United States Attorney's Office to obtain current credit
reports in order to evaluate the defendant's ability to satisfy any financial obligation
imposed by the Court.

6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to nor

bound by this agreement. The Court may accept or reject the agreement, or defer a
decision until it has had an opportunity to consider the presentence report prepared
by the United States Probation Office. The defendant understands and
acknowledges that, although the parties are permitted to make recommendations and
present arguments to the Court, the sentence will be determined solely by the Court,
with the assistance of the United States Probation Office. Defendant further
understands and acknowledges that any discussions between defendant or
defendant's attorney and the attorney or other agents for the government regarding
any recommendations by the government are not binding on the Court and that,
should any recommendations be rejected, defendant will not be permitted to
withdraw defendant's plea pursuant to this plea agreement. The government
expressly reserves the right to support and defend any decision that the Court may
make with regard to the defendant's sentence, whether or not such decision is

consistent with the government's recommendations contained herein.

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7. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and authority to
impose any sentence up to the statutory maximum and expressly waives the right to
appeal defendant's sentence on any ground, including the ground that the Court
erred in determining the applicable guidelines range pursuant to the United States
Sentencing Guidelines, except (a) the ground that the sentence exceeds the
defendant's applicable guidelines range as determined by the Court pursuant to the
United States Sentencing Guidelines; (b) the ground that the sentence exceeds the
statutory maximum penalty; or (c) the ground that the sentence violates the Eighth
Amendment to the Constitution; provided, however, that if the government exercises
its right to appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then
the defendant is released from his waiver and may appeal the sentence as authorized
by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the Office of the
United States Attorney for the Middle District of Florida and cannot bind other
federal, state, or local prosecuting authorities, although this office will bring
defendant's cooperation, if any, to the attention of other prosecuting officers or

others, if requested.

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9. Filing of Agreement

This agreement shall be presented to the Court, in open court or in

camera, in whole or in part, upon a showing of good cause, and filed in this cause, at

the time of defendant's entry of a plea of guilty pursuant hereto.

10.  Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon any
discussions between the attorney for the government and the defendant and
defendant's attorney and without promise of benefit of any kind (other than the
concessions contained herein), and without threats, force, intimidation, or coercion
of any kind. The defendant further acknowledges defendant's understanding of the
nature of the offense or offenses to which defendant is pleading guilty and the
elements thereof, including the penalties provided by law, and defendant's complete
satisfaction with the representation and advice received from defendant's
undersigned counsel (if any). The defendant also understands that defendant has the
right to plead not guilty or to persist in that plea if it has already been made, and that
defendant has the right to be tried by a jury with the assistance of counsel, the right
to confront and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading guilty,

defendant waives or gives up those rights and there will be no trial. The defendant

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further understands that if defendant pleads guilty, the Court may ask defendant
questions about the offense or offenses to which defendant pleaded, and if defendant
answers those questions under oath, on the record, and in the presence of counsel (if
any), defendant's answers may later be used against defendant in a prosecution for
perjury or false statement. The defendant also understands that defendant will be
adjudicated guilty of the offenses to which defendant has pleaded and, if any of such
offenses are felonies, may thereby be deprived of certain rights, such as the right to
vote, to hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty. The
defendant certifies that defendant does hereby admit that the facts set forth in the
attached "Factual Basis," which is incorporated herein by reference, are true, and
were this case to go to trial, the United States would be able to prove those specific
facts and others beyond a reasonable doubt.
12. Entire Agreement
This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea and no
other promises, agreements, or representations exist or have been made to the

defendant or defendant's attorney with regard to such guilty plea.

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13. Certification
The defendant and defendant's counsel certify that this plea agreement
has been read in its entirety by (or has been read to) the defendant and that defendant

fully understands its terms. ve
DATED this au day of _Febvver Ue roe hy,

MARIA CHAPA LOPEZ
United States Attorney

Ay Flan Suhre

ROMEO XAVIER LANGHORNE RA COFER TAYLOR ©

Assistant United States Attorney

Defendant
A FASE
EOMBRUNO FRANK TALBOT
rme¢y for Defendant Assistant United States Attorney

Chief, Jacksonville Division

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fe CO CHERIE L. KRIGSMAN
Assistant United States Attorney
Chief, National Security and
Cybercrime Section

Alin doh

-o&t-D. ANDREW SIGLER
Trial Attorney, Counterterrorism
Section
Department of Justice National
Security Division

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 3:19-cr-218-J-20JRK
ROMEO XAVIER LANGHORNE

PERSONALIZATION OF ELEMENTS

As to Count One:

1. Beginning no later than December of 2018, through on or about
November 15, 2019, in St. Johns County, within the Middle District of Florida, and
elsewhere, did you knowingly attempt to provide material support and resources to a
designated foreign terrorist organization, that is, the Islamic State of Iraq and al-
Sham, referred to as “ISIS”? Specifically, did you attempt to do so through the
creation and distribution of an instructional video intended to teach followers of ISIS
how to obtain materials for explosives without arousing suspicion and combine those
materials to make an explosive sufficient to destroy specific types of targets?

2 Did you do so knowing that ISIS was a designated foreign terrorist
organization, had engaged in terrorism, and was engaging in terrorism?

a. Did you engage in conduct that constituted a substantial step toward
the commission of the crime and that strongly corroborated your criminal intent,
specifically, by uploading the instructional video to a publicly viewable site on the
World Wide Web, that is, BitChute?

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 3:19-cr-218-J-20JRK

ROMEO XAVIER LANGHORNE

FACTUAL BASIS

On May 15, 2014, the Secretary of State for the United States designated the
Islamic State of Iraq and al-Sham (“ISIS”) as a Foreign Terrorist Organization under
Section 219 of the Immigration and Nationality Act; ISIS remains a designated
Foreign Terrorist Organization.

At some time in 2014, Romeo Xavier LANGHORNE pledged his allegiance
to ISIS. LANGHORNE was aware that ISIS was a designated Foreign Terrorist
Organization and engaged in acts of terrorism. In 2016, LANGHORNE relocated to
St. Johns County, Florida, within the Middle District of Florida, where he resided
until moving to Roanoke, Virginia in April 2019.

During 2018 and 2019, LANGHORNE expressed his continued support for
ISIS through postings on his social media accounts, including the Twitter accounts
@YoRHajJihadi, @Yorhal7E, and @YoRHajJihadil7E, his Facebook accounts, and
his Google/ YouTube account. During 2018 and 2019, LANGHORNE uploaded

multiple ISIS-produced or otherwise terrorism-related videos to his YouTube

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account, which used the moniker “Takbir Jihadi.” During 2018 and 2019,
LANGHORNE also participated in multiple online chat rooms hosted on a secure
messaging platform in which he discussed his support for ISIS with like-minded
individuals.

In December 2018 and January 2019, LANGHORNE expressed in one of
these chat rooms an interest in creating a video that would improve on existing
videos demonstrating the making and use of triacetone triperoxide (““TATP”).
TATP is an explosive material that can be made using readily available ingredients
and has been used in multiple terrorist attacks.

On February 14, 2019, LANGHORNE and a person who had been described
to LANGHORNE as being member of ISIS, but who was actually an undercover
special agent (“UCE”) working with the Federal Bureau of Investigation (“FBI”),
began exchanging messages through the secure messaging platform. During his
initial discussions with the UCE, LANGHORNE expressed an interest in creating
videos to post on YouTube for particular target audiences, including “better videos
on how and why jihad is needed.”

On February 17, 2019, LANGHORNE engaged in further discussion with the
UCE via the secure messaging platform. In these messages, LANGHORNE said
that he wanted to produce two videos, including “first and foremost an explosive
video.” LANGHORNE instructed the UCE that the video needed to say that “it’s

for scientific purposes only and not to be used in any crimes” in order to avoid

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attracting the attention of law enforcement. LANGHORNE stated “[n]ow the
creation of such a video and sending it KNOWING It'll be used for crime in
anyway, of course is illegal... .” LANGHORNE specified that the video would
need to “show proper yield to explosive equipment gained” including “example, X
amount will destroy a car, x amount | story building, x amount 2 story if place
properly, and X amount for a 3 story building.” LANGHORNE also specified that
the video needed to show “how to obtain the catalyst needed” and that, as a possible
cover story for purchasing the ingredients for TATP, a person could “claim to be a
science teacher there and pay for said equipment with an old burner Visa card.”

On February 21, 2019, LANGHORNE called the Jacksonville office of the
Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”). On February 22,
2019, an ATF special agent returned LANGHORNE’s call. During the phone call,
LANGHORNE asked the special agent how to get an explosive license, whether
someone who was on a terrorist watch could obtain such a license, and what
background checks were conducted on someone who was trying to become an ATF
agent.

The FBI created a minute-long video clip based on LANGHORNE’s
instructions to the UCE (“TATP Video 1”). TATP Video 1 began with a disclaimer
stating that the video was being made for scientific and educational purposes. It then
introduced the topic “TATP Triacetone Triperoxide” along with the following topics

that would be covered: “What You’ll Need and Where and How to Purchase, TATP

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Production Step by Step and Safety, and Volume and Yield.” TATP Video | then
ended with the statement “More To Come.” On April 3, 2019, the UCE transmitted
TATP Video 1 to LANGHORNE using the secure messaging platform. After
receiving TATP Video 1, LANGHORNE responded “Perfect. This should be able
to be uploaded to YouTube legally as well.” LANGHORNE noted that “[b]ecause
it isn’t inherently used for crimes it should pass off fine.” LANGHORNE then
provided further instructions for what he would like to see in the next version of the
video.

On May 12, 2019, the UCE transmitted to LANGHORNE a second version
of the TATP video (““TATP Video 2”), which had been expanded to contain
additional information LANGHORNE had asked to be included. After receiving
TATP Video 2, LANGHORNE responded “Perfect thus far. The volume & yield
specifically has a ratio of good importance. The tips for safety are also outstanding.
As those are the most realistic ways to purchase items required, avoid digit[a]l
tripwires and maintain a low profile.” LANGHORNE also described several
disguises that could be suggested in the final video and the need for safety apparel
when creating TATP. He also speculated about ways to increase the yield of TATP
by making improvements to the process for creating TATP and suggested various
ways of explaining away evidence of criminal intent. LANGHORNE then stated,
“This initial video is basically how to safely create and use TATP without setting off

any federal alarms. Its purpose is not to harm but simply to educate.” He continued:

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A follow up video on high value targets, understanding
contemporary warfare in compar|is]on to classical Islamic
warfare, how to scout locations & people, mental &
religious preparation, use of disguises, basic legal
information required to appropriately scout without being
detected or raising alarm. When to strike and how, As well
as tactical analysis of active shooting scenarios, law
enforcement response & how to successfully leave an area
without being caught, are all things for a separate video.
One video being the primer, while the second being the
catalyst or detonator.

LANGHORNE opined that if the final video were published in the public domain
“the Islamic world will have a better grasp on how to defend itself with the usage of
explosives in a reasonable & safe manner” and that “everyone who sees, uploads,
reuploads & shares this video will be aware of how to safely and accurately create &
use explosives.” LANGHORNE further opined that this would mean that “the list
of potentially dangerous people escalate from being small and well managed to being
completely useless as everyone becomes a tier | threat.”

On May 26, 2019, LANGHORNE uploaded multiple ISIS- and jihad-related
videos to his YouTube account as a test to determine whether the videos would be
allowed to remain on YouTube. LANGHORNE’s YouTube account was
suspended the same day.

On June 24, 2019, the UCE provided LANGHORNE with a third version of
the TATP video (“TATP Video 3”), which included additional information that
LANGHORNE had requested. After receiving TATP Video 3, LANGHORNE

responded approvingly. LANGHORNE suggested that the UCE scale the TATP

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recipe to provide the appropriate amounts of explosive required to detonate targets,
including a building.

Between June 28 and July 2, 2019, LANGHORNE sent multiple messages to
the UCE regarding a nasheed that LANGHORNE wanted to be made. A nasheed is
a work of vocal music that carries with it an Islamic belief, practice, etiquette, or
lesson. LANGHORNE stated that he wanted “a nasheed that uses the sounds of the
battlefield as music. Since that isn’t haram [forbidden by Islamic law].”
LANGHORNE then stated:

Firstly I need a handful of sounds and one in particular I
have only ever seen once. During the prison break dawlah
did there was a man recording. And he gives a loud takbir

at the second explosion[.] I want that specific takbir[.] And
a few other takbirs that are good as well.

(“Dawlah” translates to “dynasty” or “state,” and commonly is used to refer to ISIS.
The “takbir” is the expression in Arabic “Allahu Akbar,” which means “God is
great,” and is commonly used as a battle cry by Islamic extremists.) LANGHORNE
further sent the UCE multiple links to videos on YouTube, including specifying that
he wanted to include a clip of “Just the children saying[]kill them all” anda
particular recording of a bomb exploding. LANGHORNE then told the UCE “I
have the lyrics down” and,

In short the song is about retaliation. Fatuluhum, or Kill

them all[].] The chorus is kill them all, And it repeats five

times inbetween the lyrics[.] Amidst gunfire, bombs,

recitations and kill counts (done to muslims. We list a
country then the amount of muslims killed as a result of US

“intervéntion” or war. ... Ill explain in further detail a bit
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later. But the premise of the nasheed is to encourage
justified retaliation. Hince. Kill them all

On August 1, 2019, the UCE messaged LANGHORNE and stated that he
needed to travel for an urgent project for Dawlah al Islamiyah, a term
LANGHORNE understood to refer to ISIS. LANGHORNE responded “Be
careful.”

On November 5, 2019, the UCE messaged LANGHORNE to let him know
he was back from “Dawla” and would have the final video completed shortly. On
November 7, 2019, the UCE sent LANGHORNE three versions of the final video
(“TATP Video 4”). TATP Video 4 included what was represented to be a recipe for
TATP; the recipe, however, had been altered so that it would only result in the
creation of an inert product. TATP Video 4 also included yield multipliers
purporting to be sufficient to destroy specific targets, and it featured demonstrations
of a tree, car, and barn being blown up. The UCE provided LANGHORNE with
three versions of TATP Video 4 — one without music and two containing existing
nasheeds that LANGHORNE had previously suggested the UCE should use as
background music. After sending the first version of TATP Video 4 without music,
LANGHORNE responded with praise, noting, “[t]he video appears to be legal, well
scripted, shows proper yield, creation and where to obtain supplies.” After sending
the other two versions of TATP Video 4, LANGHORNE inquired whether the UCE
was familiar with “bitchute,” which LANGHORNE described as “a video streaming

platform like oh ee “it’s more wild west out there.” (BitChute is a peer-to-

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peer video sharing website that is publicly viewable on the World Wide Web.
Instead of using centralized servers, BitChute utilizes a BitTorrent client that runs in
the web browser. As a video shared to BitChute is downloaded by other users, the
other users become hosts for the video, meaning that future users can obtain portions
of the video content from numerous other users. By operating in this way, BitChute
decentralizes the locations at which its content is hosted. BitChute is favored by
extremists because of its permissive environment.) LANGHORNE said that he had
previously uploaded the video Flames of War II to BitChute and that BitChute had
not removed it. (Flames of War II is an ISIS-produced propaganda video in which
ISIS claims responsibility for various terrorist attacks and threatens further attacks
against the United States.)

A confirmation email located in LANGHORNE’s Google account showed
that he had uploaded Flames of War II to BitChute on October 1, 2019. On
October 24, 2019, LANGHORNE sent an email to an address associated with
BitChute in which he stated that he was “[h]aving trouble uploading videos, I have a
decent number of videos I'd like to upload and can’t seem to continue uploading.
Yes they are ISIS videos, the reasoning for this is that the media i[s] snuffing and
suppressing this information heavily and I feel that journalistic integrity demands
that people have free and open access to the information without being put on a list

for having viewed the videos in question, or being scrutinized for atypical curiosity.”

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On November 11, 2019, an FBI Intelligence Analyst located in Jacksonville,
Florida, within the Middle District of Florida, observed that LANGHORNE had
uploaded to BitChute one of the versions of TATP Video 4 containing a nasheed.
LANGHORNE entitled the video “TATP OR: HOW YOU LEARNED TO STOP
WORRYING AND LOVE THE BOMB.” LANGHORNE included a summary of
the video in which he stated that it was “simply to be utilized for recreational and
landscaping purposes” and that it would provide “instructions and the yield” needed
to “destroy .. . tree stumps, junk yard cars, or perhaps an old moldy barn of some
sort.” LANGHORNE also posted a comment on the video describing the nasheed
as follows: “basically it’s about how Islamic leadership is failing and questionable at
best in comparison to past leadership.” Approximately 28 minutes after uploading
the video to BitChute, LANGHORNE posted to his Twitter account, “Its alarming
to hear sirens in the distance now.” A few hours later, LANGHORNE deleted the
video from BitChute.

Later on November 11, 2019, LANGHORNE uploaded the version of TATP
Video 4 that did not contain a nasheed, which he entitled “HOW TO MAKE
BOMBS/EXPLOSIVE MATERIAL: TATP EDITION.” LANGHORNE included
a significantly shortened description of the video that did not make reference to
blowing up any particular targets.

On November 15, 2019, FBI special agents and other law enforcement officers

arrested LANGHORNE at his residence in Roanoke, Virginia. After being arrested,

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LANGHORNE was transported to the Roanoke FBI office for an interview.
LANGHORNE was advised of his Miranda rights, and he agreed to speak with two
agents without an attorney. During the interview, LANGHORNE admitted that he
had “probably at some point” pledged allegiance to ISIS and Abu Bakr al-Baghdadi,
who was the leader of ISIS from 2014 until his death on October 26, 2019.
LANGHORNE claimed that he had later broken his allegiance, but he stated it was
“very probable” that he had later reaffirmed his vow. LANGHORNE was shown a
printout of his communications with the UCE, and LANGHORNE admitted they
were his communications. LANGHORNE also admitted ownership and control of
the social media accounts discussed herein and that he had uploaded TATP Video 4
to BitChute.

LANGHORNE’s phone was seized from him at the time of his arrest and
agents later searched it pursuant to a federal search warrant. Stored on the phone
were 287 ISIS or other Islamic extremist propaganda videos as well as the TATP
videos that the UCE had sent to LANGHORNE. The phone also was logged into
the account that LANGHORNE had used on the secure messaging platform to
communicate with the UCE and contained some of the messages exchanged between

them.

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